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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                       Master Docket No. 18 C 06785
IN RE: LOCAL TV ADVERTISING
ANTITRUST LITIGATION
                                                       MDL No. 2867

This document relates to all actions.
                                                       Honorable Virginia M. Kendall



   MOTION FOR LEAVE TO FILE UNDER SEAL THE REPLY MEMORANDUM IN
            SUPPORT OF PLAINTIFFS’ DISCOVERY MOTION #1:

 TO COMPEL PRODUCTION OF RATINGS DATA FROM THE NIELSEN COMPANY
        (US), LLC AND FROM SINCLAIR BROADCAST GROUP, INC.

        Plaintiffs in the above captioned action, through their undersigned counsel and pursuant

to Local Rule 26.2 of the Local Rules of the United States District Court for the Northern District

of Illinois, hereby move this Court for leave to file under seal the Reply Memorandum in

Support of Plaintiffs’ Discovery Motion #1 (the “Reply”). In support, Plaintiffs state as follows:

        1.      Plaintiffs’ Reply discusses and attaches as an exhibit a document produced by

defendant Sinclair Broadcast Group, Inc. (“Sinclair”).

        2.      Pursuant to the Agreed Confidentiality Order in this case, the parties are permitted

to designate as “CONFIDENTIAL” all “Confidential Information,” which may include: (a)

information prohibited from disclosure by statute; (b) information that reveals trade secrets; (c)

research, technical, commercial or financial information that the Party has maintained as

confidential; (d) medical information concerning any individual; (e) personal identity

information; (f) income tax returns (including attached schedules and forms), W-2 forms and

1099 forms; or (g) personnel or employment records of a person who is not a Party to the case.

(ECF No. 194, p. 3–4).
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          3.     The Agreed Confidentiality Order further instructs that “[a]ny party wishing to

file a document designated as Confidential or Highly Confidential Information in connection

with a motion, brief or other submission to the Court must comply with [Local Rule] 26.2” (ECF

No. 194, p. 10).

          4.     The document in question is designated as “CONFIDENTIAL.”

          5.     Additionally, the Reply includes specific pricing information for Nielsen ratings

data that are the subject of Plaintiffs’ Discovery Motion #1. The Nielsen Company (US), LLC

(“Nielsen”) has requested that this information not be part of the public file.

          6.     Under Local Rule 26.2(c), “[a]ny party wishing to file a document or portion of a

document electronically under seal in connection with a motion, brief or other submission must .

. . move the court for leave to file the document under seal.” L.R. 26.2(c).

          7.     In compliance with Local Rule 26.2(c), Plaintiffs will file a public-record version

of the Reply that omits the Confidential document attached as an exhibit and redacts, at Nielsen’s

request, the pricing information.

          WHEREFORE, Plaintiffs request this Court grant them leave to file the Reply under seal.



    Dated: August 16, 2022                            Respectfully submitted,


                                                      /s/ Cyril V. Smith__
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